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     1.    This document complies with the word count limit of Fed. R. App. P.

  32(a)(7)(B) because, excluding the parts of the document exempted by Fed. R.

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